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13

14
                         IN THE UNITED STATES DISTRICT COURT
15                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   SAN JOSE DIVISION
16

17   PATRICK CALHOUN, et al., on behalf of           Case No. 5:20-cv-05146-EJD
     themselves and all others similarly situated,
18                                                   DECLARATION OF JAY BARNES IN
                              Plaintiffs,            SUPPORT OF DEFENDANT’S
19                                                   CORRECTED ADMINISTRATIVE
            v.                                       MOTION TO SEAL (DKT. 457)
20
     GOOGLE LLC,
21
                              Defendant.
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         Case 5:20-cv-05146-EJD Document 468 Filed 01/13/22 Page 2 of 8



 1                                  DECLARATION OF JAY BARNES
 2           I, Jay Barnes, hereby declare under penalty of perjury:
 3           1.       I am an attorney who has been admitted to practice before this Court pro hac vice in
 4   the above‐captioned matter.
 5           2.       I am an attorney with the law firm Simmons Hanly Conroy, LLC, who, along with
 6   DiCello Levitt Gutzler LLC and Bleichmar Fonti & Auld LLP, represent Plaintiffs in the above-
 7   captioned matter.
 8           3.       I have personal knowledge of the facts set forth herein and, if called as a witness,
 9   could and would testify competently to them.
10           4.       I submit this declaration in accordance with Civil Local Rules 79-5(f)(3), as an
11   attorney for the “Designating Party,” as that term is used in those Rules, and in support of that
12   portion of Defendant’s Corrected Administrative Motion to Seal, filed at Dkt. No. 457, which
13   pertains to documents designated “Confidential” or “Highly Confidential – Attorney’s Eyes Only”
14   by Plaintiffs.
15           5.       On January 6, 2022, Defendant filed an Administrative Motion to File Under Seal
16   supporting declarations and exhibits to Defendant’s Opposition to Plaintiffs’ Motion for Class
17   Certification. Dkt. No. 457.1 The following morning, I received unredacted service copies of the
18   declarations and exhibits.
19           6.       I have reviewed the documents that Defendant seeks to file under seal pursuant to
20   Civil Local Rule 79-5(f). I submit that there is good cause to seal the following information, which
21   have been designated “Confidential” or “Highly Confidential – Attorney’s Eyes Only” by
22   Plaintiffs:
23       Document                            Portions Sought to be Sealed
24                                           Redacted portions in Blue at: 6:1, 6:8, 6:14-15, 6:21,
         Broome Decl., Exhibit 6
                                             6:24, 8:3-4, 8:6-8, 12:13-28, 13:1-12
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       The ECF filing information indicates that Defendant’s January 6, 2022 motion is a correction to
27   a previously filed Administration Motion to Seal, filed on December 22, 2021 and lodged under
28   Dkt. No. 428.

     BARNES DECL. ISO
     DEF. ADMIN. MOT. TO SEAL                          1                    CASE NO. 5:20-CV-5146-EJD
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 1    Broome Decl., Exhibit 10      Redacted portions in Blue at: 7:13, 7:21-22, 8:1, 8:7,
                                    8:14, 12:2-7, 12:8-14, 12:15-12:21, 12:21-27, 13:1,
 2                                  13:2-7

 3    Broome Decl., Exhibit 20      Redacted portions: 21:23-24

 4    Broome Decl., Exhibit 22      Redacted portions: 228:7

 5    Broome Decl., Exhibit 24      Redacted portions in Blue at: 48:21, 49:5, 49:13,
                                    49:19, 50:1-2, 50:8-9, 50:18-19, 51:12-13, 52:3,
 6                                  52:8-10, 52:17, 52:24-25, 53:6, 53:9, 53:11

 7    Broome Decl., Exhibit 28      Redacted portions in Blue at: page 1

 8    Broome Decl., Exhibit 29      Redacted portions in Blue at: pages 1-2
 9    Broome Decl., Exhibit 30      Redacted portions in Blue at: page 1
10    Broome Decl., Exhibit 31      Redacted portions in Blue at: pages 1-2, 7
11    Broome Decl., Exhibit 32      Redacted portions in Blue at: page 1
12    Broome Decl., Exhibit 33      Redacted portions in Blue at: page 1
13    Broome Decl., Exhibit 34      Redacted portions in Blue at: page 1
14    Broome Decl., Exhibit 35      Redacted portions in Blue at: pages 1-2, 7
15    Broome Decl., Exhibit 36      Redacted portions in Blue at: page 1
16    Broome Decl., Exhibit 37      Redacted portions in Blue at: pages 1, 7
17
      Broome Decl., Exhibit 38      Redacted portions in Blue at: page 1
18
      Broome Decl., Exhibit 39      Redacted portions in Blue at: pages 1-2, 9
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      Broome Decl., Exhibit 40      Redacted portions in Blue at: page 1
20
      Broome Decl., Exhibit 41      Redacted portions in Blue at: page 1
21
      Broome Decl., Exhibit 42      Redacted portions in Blue at: page 1
22
      Broome Decl., Exhibit 43      Redacted portions in Blue at: pages 1-2
23
      Declaration of Gregory Fair   Redacted portions at: 31:16, 31:19, 32:9, 32:23,
24                                  33:17, 34:4-5, 34:7, 34:9, 34:12-14, 34:16-17, 34:20-
                                    21, 34:23-24, 35:3-4, 35:7-8, 45:21, 45:24, 45:26,
25                                  46:1-2, 46:5, 46:8-9, 46:12-13, 46:16, 47:4, 47:18,
                                    60:4
26
      Fair Decl., Exhibit 23        Entire Document
27
      Fair Decl., Exhibit 24        Entire Document
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     DEF. ADMIN. MOT. TO SEAL                 2                    CASE NO. 5:20-CV-5146-EJD
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 1    Fair Decl., Exhibit 25       Entire Document

 2    Fair Decl., Exhibit 26       Entire Document

 3    Fair Decl., Exhibit 28       Entire Document

 4    Fair Decl., Exhibit 29       Entire Document

 5    Fair Decl., Exhibit 30       Entire Document

 6    Fair Decl., Exhibit 31       Entire Document

 7    Fair Decl., Exhibit 33       Entire Document
 8    Fair Decl., Exhibit 34       Entire Document
 9    Fair Decl., Exhibit 35       Entire Document
10    Fair Decl., Exhibit 36       Entire Document
11    Fair Decl., Exhibit 38       Entire Document
12    Fair Decl., Exhibit 39       Entire Document
13    Fair Decl., Exhibit 40       Entire Document
14    Fair Decl., Exhibit 41       Entire Document
15    Fair Decl., Exhibit 42       Entire Document
16    Fair Decl., Exhibit 43       Entire Document
17    Fair Decl., Exhibit 44       Entire Document
18    Fair Decl., Exhibit 45       Entire Document
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      Fair Decl., Exhibit 49       Entire Document
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      Fair Decl., Exhibit 50       Entire Document
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      Fair Decl., Exhibit 51       Entire Document
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      Fair Decl., Exhibit 52       Entire Document
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      Fair Decl., Exhibit 53       Entire Document
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      Fair Decl., Exhibit 54       Entire Document
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      Fair Decl., Exhibit 58       Entire Document
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      Fair Decl., Exhibit 59       Entire Document
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      Fair Decl., Exhibit 60       Entire Document
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     BARNES DECL. ISO
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 1    Fair Decl., Exhibit 61       Entire Document

 2    Fair Decl., Exhibit 64       Entire Document

 3    Fair Decl., Exhibit 65       Entire Document

 4    Fair Decl., Exhibit 66       Entire Document

 5    Fair Decl., Exhibit 67       Entire Document

 6    Fair Decl., Exhibit 68       Entire Document

 7    Fair Decl., Exhibit 69       Entire Document
 8    Fair Decl., Exhibit 71       Entire Document
 9    Fair Decl., Exhibit 72       Entire Document
10    Fair Decl., Exhibit 73       Entire Document
11    Fair Decl., Exhibit 74       Entire Document
12    Fair Decl., Exhibit 76       Entire Document
13    Fair Decl., Exhibit 77       Entire Document
14    Fair Decl., Exhibit 78       Entire Document
15    Fair Decl., Exhibit 79       Entire Document
16    Fair Decl., Exhibit 81       Entire Document
17    Fair Decl., Exhibit 82       Entire Document
18    Fair Decl., Exhibit 89       Entire Document
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      Fair Decl., Exhibit 90       Entire Document
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      Fair Decl., Exhibit 91       Entire Document
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      Fair Decl., Exhibit 92       Entire Document
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      Fair Decl., Exhibit 93       Entire Document
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      Fair Decl., Exhibit 94       Entire Document
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      Fair Decl., Exhibit 95       Entire Document
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      Fair Decl., Exhibit 96       Entire Document
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      Fair Decl., Exhibit 97       Entire Document
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      Fair Decl., Exhibit 98       Entire Document
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 1     Fair Decl., Exhibit 99                 Entire Document

 2          7.        Upon further review, and adhering to the requirements of narrowly tailoring
 3   designations, Plaintiffs have de-designated information previously marked Confidential in Broome
 4   Decl., Ex. 25.
 5          8.        The documents identified in the above chart, or portions thereof, contain Plaintiffs’
 6   personally identifiable information and private web browsing history and settings.
 7          9.        Although there is “a general right to inspect and copy public records and documents,
 8   including judicial records and documents,” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 &
 9   n.7 (1978), the presumption of public access can be overcome where the sealing party “articulate[s]
10   compelling reasons supported by specific factual findings…that outweigh…public policies
11   favoring disclosure such as the public interest in understanding the judicial process.” Kamakana v.
12   City & County of Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006) (citations omitted). Documents
13   may be sealed if they are “privileged, protectable as a trade secret, or otherwise entitled to
14   protection under the law” so long as “narrowly tailored to seek sealing only of sealable material.”
15   Civ. L.R. 79-5(b). Courts “must ‘conscientiously balance the competing interests’ of the public and
16   the party who seeks to keep certain judicial records secret.” Kamakana, 447 F.3d 1172, 1178-79
17   (citing Foltz v. State Farm Mut. Auto Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)).
18          10.       Compelling reasons to seal include protecting “an individual’s privacy interest and
19   to prevent exposure to harm or identity theft.” Nursing Home Pension Fund v. Oracle Corp., No.
20   C01- 00988 MJJ, 2007 WL 3232267, at *2 (N.D. Cal., Nov. 1, 2007) (permitting redaction of home
21   addresses and financial account information) (citing Foltz, 331 F.3d at 1134 [acknowledging
22   privacy interests implicated by sensitive, personally identifying information]); Pension Plan for
23   Pension Tr. Fund for Op. Eng’rs v. Giacalone Elec. Servs., Inc., No. 13-CV-02338-SI, 2015 WL
24   3956143, at *10 (N.D. Cal. June 29, 2015). Web browsing history, account names and email
25   addresses are defined as “personal information” protected under the California Consumer Privacy
26   Act of 2018 (“CCPA”), see Cal. Civ. Code § 1798.140(o). The Ninth Circuit also now recognizes
27   a privacy interest in web browsing history and associated cookies and identifiers. See, e.g., In re
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 1   Facebook, Inc. Internet Tracking Litig., 956 F.3d 589 (9th Cir. 2020) (privacy harm arising from
 2   alleged non-consensual tracking and collection of plaintiffs’ browsing history on third-party sites);
 3   accord, Henson v. Turn, Inc., 15-cv-1497-JSW-JB, 2018 WL 5281629 (N.D. Cal. Oct. 22, 2018)
 4   (approving limits on discovery of web browsing history and cookies because of privacy
 5   implications).
 6          11.       The above, narrowly defined information Plaintiffs seek to redact falls squarely
 7   within these definitions. Indeed, the Court has previously granted Administrative Motion to Seal
 8   Plaintiffs’ personally identifiable information and web browsing history. See Dkt. Nos. 198, 310,
 9   386.
10          12.       Accordingly, Plaintiffs request that the Court grant Defendant’s Administrative
11   Motions to Seal, Dkt. No. 428, with respect to the documents and portions identified above.
12          I declare under penalty of perjury under the laws of the United States that the foregoing is
13   true and correct.
14          Executed this 13th day of January, 2022, at Jefferson City, Missouri.
15
                                                          /s/ Jay Barnes
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                                                          Jay Barnes
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     BARNES DECL. ISO
     DEF. ADMIN. MOT. TO SEAL                         6                    CASE NO. 5:20-CV-5146-EJD
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 1                                   CERTIFICATE OF SERVICE
 2          I, Jay Barnes, hereby certify that on January 13, 2022, I electronically filed the foregoing
 3   document with the Clerk of the United States District Court for the Northern District of California
 4   using the CM/ECF system, which will send electronic notification to all counsel of record.
 5
                                                         /s/ Jay Barnes
 6                                                       Jay Barnes

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     BARNES DECL. ISO
     DEF. ADMIN. MOT. TO SEAL                        7                    CASE NO. 5:20-CV-5146-EJD
